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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 DEMOCRACY FORWARD FOUNDATION,
 P.O. Box 34553
 Washington, D.C. 20043,

 Plaintiff,                                              Case No. 25-cv-719

 vs.

 U.S. MARSHALS SERVICE,
 1215 S. Clark St. Arlington, VA 22202

 Defendant.



                          COMPLAINT FOR INJUNCTIVE RELIEF

       Plaintiff Democracy Forward Foundation brings this action against Defendant U.S.

Marshals Service (“USMS”) to compel compliance with the Freedom of Information Act, 5

U.S.C. § 552 (“FOIA”). Plaintiff alleges as follows.

                                      Jurisdiction and Venue

       1.       This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. § 1331.

       2.       Venue is proper under 28 U.S.C. § 1391(e), as Plaintiff is located in Washington,

D.C., within this district, and a substantial part of the events or omissions giving rise to

Plaintiff’s claims occurred here.

                                               Parties

       3.       Plaintiff Democracy Forward Foundation (“Democracy Forward”) is a not-for-

profit organization incorporated under the laws of the District of Columbia and based in
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Washington, D.C. Plaintiff works to promote transparency and accountability in government, in

part, by educating the public on government actions and policies.

       4.        Defendant USMS is a federal agency within the meaning of FOIA, 5 U.S.C. §

552(f)(1), and is headquartered in Arlington, Virginia. USMS has possession, custody, and

control of records to which Plaintiff seeks access.

                                                Facts

       5.        Democracy Forward filed several FOIA requests to USMS in light of reports of

irregular and concerning conduct by the agency. This includes reports that:

            a.   USMS officials had communicated inappropriately with federal judges regarding

                 their actions on pending cases related to January 6, potentially following direction

                 from the U.S. DOGE Service (“DOGE”). See Ruth Marcus, Pardon me: What

                 were the folks at DOGE thinking? Washington Post (Jan. 23, 2025, 5:00 PM),

                 https://www.washingtonpost.com/opinions/2025/01/23/doge-jan-6-marshals-

                 federal-judges/.

            b. Individuals associated with the DOGE have repeatedly invoked threats to engage

                 USMS when seeking questionable access to agency buildings and information.

                 See Jason Leopold & Anthony Cormier, Behind DOGE’s Standoff at USAID:

                 Desk Searches and Elon Musk Calling, Bloomberg (Feb. 3, 2025),

                 https://www.bloomberg.com/news/articles/2025-02-03/behind-doge-s-standoff-at-

                 usaid-desk-searches-and-elon-musk-calling?embedded-checkout=true.

            c. DOGE leader Elon Musk’s private security guards have been deputized by

                 USMS. See Hannah Rabinowitz & Whitney Wild, Elon Musk’s private security

                 detail gets deputized by US Marshals Service, CNN (Feb. 20, 2025),




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                 https://www.cnn.com/2025/02/20/politics/elon-musk-private-security-deputized-

                 marshals-service/index.html.

       6.        Democracy Forward also filed the requests because of USMS’s important role in

enforcing court orders, following Vice President Vance’s comments that appeared to call into

question whether all court orders would be followed. Charlie Savage and Minho Kim, Vance

Says ‘Judges Aren’t Allowed to Control’ Trump’s ‘Legitimate Power’, The New York Times

(February 9, 2025), https://www.nytimes.com/2025/02/09/us/politics/vance-trump-federal-

courts-executive-order.html.

                                      Judicial Contact Request

       7.        On January 27, 2025, Democracy Forward sent a FOIA request to USMS seeking

the following:

                 (1) All electronic communications (including emails, email
                     attachments, complete email chains, calendar invitations,
                     calendar invitation attachments, text messages, or messages on
                     messaging platforms) between (a) the U.S. Marshals Service
                     officials listed below and (b) any representatives of the
                     Executive Office of the President (including, but not limited to,
                     emails ending in eop.gov), the Department of Government
                     Efficiency (“DOGE”), or the U.S. “DOGE” (previously
                     “Digital”) Service.
                             a. U.S. Marshals Service officials:
                                 i. Anyone serving in the role of Acting Director
                                ii. Deputy Director Mark Pittella
                               iii. Acting Chief of Staff Quintella Downs-Bradshaw
                               iv. Richard Kelly, Associate Director for Judicial
                                    Support Operations
                                v. Anyone serving in the role of Acting General
                                    Counsel
                               vi. Acting General Counsel Leah Brownlee Taylor

                 (2) All electronic communications (including emails, email
                     attachments, complete email chains, calendar invitations,
                     calendar invitation attachments, text messages, or messages on
                     messaging platforms) of the U.S. Marshals Service officials
                     listed below regarding the direction, request, or order for any


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                   USMS official to visit the chambers of the federal judges
                   overseeing January 6th cases or otherwise communicate with
                   those judges concerning cases related to January 6th.
                           a. U.S. Marshals Service officials:
                               i. Anyone serving in the role of Acting Director
                              ii. Deputy Director Mark Pittella
                             iii. Acting Chief of Staff Quintella Downs-Bradshaw
                             iv. Richard Kelly, Associate Director for Judicial
                                  Support Operations
                              v. Any political appointee serving within the
                                  U.S.M.S. (including any Schedule C or non-
                                  Career SES)
                             vi. Acting General Counsel Leah Brownlee Taylor or
                                  anyone else serving in that role
                            vii. Acting D.C. Marshal Ron Carter

               (3) All final directives or guidance regarding the direction, request,
                   or order for acting D.C. Marshal Ron Carter to visit or otherwise
                   communicate with the chambers of the federal judges overseeing
                   January 6 cases.

       8.      The request sought records from January 20, 2025, through the date of the search.

       9.      On January 30, 2025, USMS acknowledged Democracy Forward’s request,

assigning it tracking number 2025-USMS-000843.

       10.     On January 31, 2025, USMS granted Democracy Forward’s fee waiver request.

       11.     On February 7, 2025, Democracy Forward submitted a nearly identical FOIA

request to request 2025-USMS-000843, except that it removed item 3 and custodian Ron Carter.

This request sought only to ensure an extended time period for the search for responsive records

in case USMS took a restrictive view of the appropriate search cutoff period. The request stated

that it sought records “from the search cut-off date USMS employs for [2025-USMS-000843]

until the date of the new search.”

       12.     On February 12, 2025, USMS acknowledged this search date extension request,

and assigned it tracking number 2025-USMS-000882 and granted Democracy Forward’s fee

waiver request.


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                              DOGE Phone Logs and USAID Request

       13.       On February 7, 2025, Democracy Forward sent a FOIA request to USMS seeking

the following:

                 (1) All logs or other records tracking incoming or outgoing
                     telephone calls (including telephone billing records) of the
                     agency custodians listed below reflecting any calls with any
                     representatives of the Executive Office of the President
                     (including, but not limited to, emails ending in eop.gov), the
                     Department of Government Efficiency (“DOGE”), or the U.S.
                     “DOGE” (previously “Digital”) Service. This includes calls to
                     and from custodians’ office telephones, as well as any mobile
                     device(s) that they use for official business.
                     a.      Anyone serving in the role of Acting Director
                     b.      Deputy Director Mark Pittella
                     c.      Acting Chief of Staff Quintella Downs-Bradshaw
                     d.      Richard Kelly, Associate Director for Judicial Support
                             Operations
                     e.      Any political appointee serving within the U.S.M.S.
                             (including any Schedule C or non-Career SES)
                     f.      Acting General Counsel Leah Brownlee Taylor or
                             anyone else serving in that role
                 (2) All electronic communications (including emails, email
                     attachments, complete email chains, calendar invitations,
                     calendar invitation attachments, phone logs, text messages, or
                     messages on messaging platforms) of the U.S. Marshals Service
                     officials listed in part 1 regarding any potential or actual
                     direction, request, or order for any USMS official to visit
                     USAID or any other agency to secure access for DOGE
                     employees.

       14.       The request sought records from January 20, 2025, through the date of the search.

       15.       On February 12, 2025, USMS acknowledged Democracy Forward’s request,

assigning it tracking number 2025-USMS-000883, and granted Democracy Forward’s fee waiver

request.




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                                Court Order Enforcement Request

       16.     On February 12, 2025, Democracy Forward sent a FOIA request to USMS

seeking the following on an expedited basis:

               (1) All electronic communications (including emails, email
                   attachments, complete email chains, calendar invitations,
                   calendar invitation attachments, text messages, or messages on
                   messaging platforms) sent or received by the U.S. Marshals
                   Service officials listed below regarding any potential or actual
                   direction, request, or order regarding enforcement (or
                   nonenforcement) of court orders in cases where a court’s order
                   would affect the conduct of the federal government or any
                   employee or officer of the federal government.

                        a. U.S. Marshals Service officials:

                           i. Anyone serving in the role of Director or Acting
                              Director, including but not limited to Gadyaces
                              Serralta
                          ii. Anyone serving in the role of Deputy Director,
                              including but not limited to Mark Pittella
                        iii. Anyone serving in the role of Chief of Staff, including
                              but not limited to Chief of Staff Quintella Downs-
                              Bradshaw
                         iv. Anyone serving in the role of Associate Director for
                              Judicial Support Operations, including but not limited
                              to Richard Kelly
                          v. Any political appointee serving within the U.S.M.S.
                              (including any Schedule C or non-Career SES)
                         vi. Anyone serving in the role of General Counsel,
                              including but not limited to Leah Brownlee Taylor
                        vii. Acting U.S. Marshal for the District of Columbia Ron
                              Carter

               (2) All electronic communications (including emails, email
                   attachments, complete email chains, calendar invitations,
                   calendar invitation attachments, text messages, or messages on
                   messaging platforms) sent or received by the U.S. Marshals
                   Service officials listed in part 1 containing any of the following
                   key terms:

                        a.   “Court Orders”
                        b.   “Court Order”
                        c.   Directives
                        d.   Enforcement


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                        e. Contempt
                        f. Sanctions
                        g. “Court Security Assignments”
                        h. “Protective Service Details”
                        i. “Personal Protection”
                        j. “Federal Judicial Process”
                        k. “Judicial Pushback”
                        l. “White House”
                        m. DOGE
                        n. Elon
                        o. Musk

       17.     On February 13, 2025, USMS acknowledged Democracy Forward’s request,

assigning it tracking number 2025-USMS-000897.

                                    Administrative Aggregation

       18.     On February 14, 2025, USMS requested that Democracy Forward agree to

aggregate its four requests above to be processed as a single request under request number 2025-

USMS-000897 and requested narrowing of certain custodians and key terms contained within the

requests.

       19.     The next business day, February 18, 2025, Democracy Forward responded

agreeing to an administrative aggregation of the four requests conditional on the search range

being extended through the date of the search for the consolidated request.

       20.     Democracy Forward also agreed to limit the custodians in the aspect of its Court

Order Enforcement Request and to remove several specified key terms from that request.

       21.     Democracy forward has received no further communication from USMS

regarding its FOIA requests.

                               Exhaustion of Administrative Remedies

       22.     As of the date of the Complaint, Defendant has failed to notify Democracy

Forward of determinations regarding Democracy Forward’s FOIA requests. Through




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Defendant’s failure to respond within the time period required by law, Democracy Forward has

constructively exhausted administrative remedies. 1

                                           CLAIM FOR RELIEF

                              Count 1 (Violation of FOIA, 5 U.S.C. § 552)

        23.      Plaintiff incorporates by reference the foregoing paragraphs as though fully set

forth herein.

        24.      By failing to respond to Plaintiff’s requests with determinations within the

statutorily mandated time period, USMS has violated its duties under 5 U.S.C.§ 552, including

but not limited to, its duties to conduct a reasonable search for responsive records, to take

reasonable steps to release all nonexempt information, and to not withhold responsive records.

                                         REQUEST FOR RELIEF

WHEREFORE, Plaintiff requests that this Court:

1.         Order Defendant to conduct searches for any and all responsive records to Plaintiff’s

FOIA requests using search methods reasonably calculated to lead to discovery of all responsive

records;

2.         Order Defendant to produce, by a date certain, any and all non-exempt responsive

records and a Vaughn index of any responsive records withheld under a claim of exemption;

3.         Enjoin Defendant from continuing to withhold any and all non-exempt responsive

records;

4.      Award Plaintiff its costs, attorneys’ fees, and other disbursements for this action; and

5.      Grant any other relief this Court deems appropriate.


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  In each of USMS’s acknowledgements, USMS included form language stating that “As USMS FOIA will need to
search a separate office …. (and this qualifies as ‘unusual circumstances’…), the Agency is permitted to invoke an
extension to the statutory time limit to respond to your request.” None of these acknowledgments actually invoked
this extension provision, and none of them provided a different date by which the agency would respond.


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Dated: March 14, 2025                 Respectfully submitted,

                                      /s/ Daniel A. McGrath
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                                      Robin F. Thurston (Bar No. 7268942)
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